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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

  IN RE:                                               :       CHAPTER 7
                                                       :
  ROBERT RAY SEXTON, JR.                               :
  and JOANNE MARIE SEXTON,                             :       CASE NO. 18-60472-LRC
                                                       :
           Debtors.                                    :
                                                       :

                                     REPORT OF SALE
           COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

  matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

  Court as follows:

                                               1.

           On or about March 1, 2019, the Trustee sold real property of the estate known as

  3906 King Fisher Circle, Snellville, GA 30039 (“Property”) to Vernon E. Shaw

  (“Purchaser”) for $165,000.00 as ordered and approved by the Court on February 28,

  2019 [Doc. No. 41].

                                               2.

           Attached hereto as Exhibit “A” is the Seller’s Settlement Statement from the sale.

  The Trustee reports that he has completed the delivery of the Property to the Purchaser

  and has received net funds of $19,760.42 from the sale.

           Respectfully submitted this 25th day of March, 2019.

                                                           /s
                                                       S. Gregory Hays
  Hays Financial Consulting, LLC                       Chapter 7 Trustee
  2964 Peachtree Road, N.W., Suite 555
  Atlanta, Georgia 30305
  (404) 926-0060
  ghays@haysconsulting.net
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                                  Exhibit “A”
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                               CERTIFICATE OF SERVICE

         I hereby certify that I am over the age of 18 and that on this day I served a copy of

  the foregoing REPORT OF SALE by first class U.S. Mail, with adequate postage prepaid

  on the following persons or entities at the addresses stated:

                 Office of the United States Trustee
                 362 Richard B. Russell Building
                 75 Ted Turner Drive, SW
                 Atlanta, GA 30303

                 Robert Ray Sexton, Jr.
                 3906 King Fisher Circle
                 Snellville, GA 30039

                 Joanne Marie Sexton
                 3906 King Fisher Circle
                 Snellville, GA 30039

                 J. Keith Cornwell
                 Cornwell Law Firm, LLC
                 Suite 400
                 2180 Satellite Blvd.
                 Duluth, GA 30097

  Dated: March 25, 2019.

                                                            /s
                                                        S. Gregory Hays
                                                        Chapter 7 Trustee

  Hays Financial Consulting, LLC
  2964 Peachtree Road, N.W., Suite 555
  Atlanta, Georgia 30305
  (404) 926-0060
  ghays@haysconsulting.net
